            IN THE UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF TENNESSEE
                            AT KNOXVILLE




UNITED STATES OF AMERICA                     )
                                             )
v.                                           )      No. 3:07-cr-67
                                             )
BRYAN CLAIBORNE                              )



                         MEMORANDUM AND ORDER


            This criminal case is before the court on the defendant’s motion for a

continuance of the trial [doc. 47]. Counsel for the defendant says that additional

time is needed to investigate issues in the case and more time is needed to permit

the parties the opportunity to explore a full resolution of the charges.         The

government has no objection to the motion.

            The court finds the defendant’s motion well-taken, and it will be granted.

The court finds that the ends of justice served by granting the motion outweigh the

best interests of the public and the defendant in a speedy trial.         18 U.S.C.

§ 3161(h)(8)(A). The court finds that the failure to grant the defendant’s motion

would deny him the time necessary to complete the investigation of the issues and

negotiate a resolution of the charges. 18 U.S.C. § 3161(h)(8)(B)(iv). Therefore, all

the time from the defendant’s motion for a continuance to the new trial/plea date is

excludable as provided by the Speedy Trial Act. 18 U.S.C. § 3161(h)(8)(A).


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            It is hereby ORDERED that the defendant’s motion for a continuance

is GRANTED, and this criminal case is CONTINUED to July 7, 2008, at 9:00 a.m.



                                          ENTER:



                                                 s/ Leon Jordan
                                          United States District Judge




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